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Technology Tutorial
Concord Music Group, Inc., et al., v. Anthropic PBC
Case No.: 5:24-cv-03811-EKL-SVK




November 2024

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What Is Claude?




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What Is Claude?
Claude is a Large Language Model—a general purpose, generative AI
model designed to respond like an intelligent human to user prompts.

       User Input:                                                               Original
                                                                              Content Output:
      Explain quantum
       mechanics in
       simple terms.
      How do I draft a
       formal email?

      Ideas for a 4-day                           LLM
         road trip to
          California.




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How Do Large Language Models Work?

                         Good evening, Sam

         S      what should I name my tabby cat?


         Tiger, Stripes, Scout, or Oliver would
         suit a tabby nicely.



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Use Cases for Claude
  Software                                                 Writers
  Developers
  Draft and iterate                                        Ideate potential
  code for                                                 stories
  straightforward                                          or situations
  tasks




  Healthcare                                               Lawyers
  Professionals
  Analyze medical                                          Analyze long
  records and                                              legal transcripts
  interpret                                                and create
  complex clinical                                         summaries
  data


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Claude refers to Anthropic’s suite of
commercially available models
  • Claude 1.0 was released on March 14, 2023
  • Claude 2.0 was released on July 11, 2023
  • Plaintiffs’ claims are directed at Claude 1.0 and Claude 2.0
  • Claude 1.0 has since been deprecated and is no longer
    available to the public
  • Anthropic has since continued to release more commercial
    models, totaling about 10 versions of Claude


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Claude.ai and the Claude API                                                Law Firm

                                                    Software Co.




                                                                                        Healthcare Co.

                                        Claude Model



                                                                                       Asset Mgmt. Co.
                                                                      API



                                                                              Bank




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Pretraining




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Pretraining an LLM: Data Are First Broken Into Tokens

  • Tokens are the smallest unit a language model can understand
  • LLMs cannot understand language without tokens

      Tokens         Characters
      50             204
      Specifically, tokens are the segments of text that are fed into and
       generated by the machine learning model. These can be individual
       characters, whole words, parts of words, or even larger chunks of text.

       TEXT   TOKEN IDS




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Pretraining an LLM: Vectorization
                       Mary goes to the bank for cash

 Mary   goes   to       the       bank       for      cash


                                                                     The model analyzes token
  5.4   7.8    9.7      3.6                   5.6         4.4
                                   4.4
  7.1   5.2    7.9      7.7                   4.3         8.4
                                                                     sequences to learn
                                   8.4
  6.0   5.6    4.6      5.6                   9.8         6.9        statistical relationships
                                   6.9
  5.4   9.2    7.7      0.2                   1.0         2.9        between tokens and stores
                                   2.9
  4.2   0.7    4.5      6.1
                                   8.1
                                              2.1         8.1
                                                                     those relationships as
  3.8   8.6    4.1      6.8                   2.4         6.9        “weights.”
                                   6.9


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Pretraining an LLM: Adjusting the Weights

                                                                                                            Bank
                                                                                                            45.28
                                                                                                            28.46
                                                                                                            68.62
                                                                                                            72.90
                                                                                                            75.57
                                                                                                            119.51
                                                                                                             2.60
                                                                                                             1.55

                                                                                                            106.02
                                                                                                            52.08
                                                                                                             13.02
                                                                                                             99.71
                                                                                                             4.55
                                                                                                              2.63
                                                                                                              0.19

                                                                                                            103.20
                                                                                                            48.49
                                                                                                            45.66
                                                                                                            48.39
                                                                                                             103.2
                                                                                                             3.84
                                                                                                              6.23
                                                                                                              2.91
They
WeThe
  The
    She
     I sat
       need
        After
        bank’s
        took
         river
          The
          opened
            onto
               a
               the
                bank
                the
                  interest
                  leisurely
                    gostorm,
                      abank
                        to
                        of
                        was
                         savings
                           the
                           clouds
                             of
                              rates
                              lined
                               walk
                               the
                                bank
                                 the
                                   account
                                    bank
                                     rolled
                                     have
                                     with
                                     along
                                      river,
                                       to deposit
                                          of
                                           beautiful
                                           changed,
                                             the
                                             in,
                                             enjoying
                                              at
                                              thethe
                                                  bank,
 the
   so
    watching
     local
       peaceful
       signaling
       I river
         need
            wildflowers
             bank
                had
                 tothe
                    sound
                     my
                     to
                     an
                     reassess
                       eroded
                        sunset
                         save
                          approaching
                          paycheck.
                             of
                             infor
                                 the
                                 significantly.
                                  my
                                  over
                                    her
                                      spring.
                                      water
                                      savings
                                        the
                                         vacation.
                                          storm.
                                             water.
                                              flowing.
                                                plan.                                                       85.22
                                                                                                            28.67
                                                                                                            74.57
                                                                                                             3.03
                                                                                                             0.78
                                                                                                             7.66
                                                                                                             0.18

                                                                                                            313.95
                                                                                                            195.12
                                                                                                            79.65
                                                                                                            67.22
                                                                                                             12.36
                                                                                                             14.31
                                                                                                             21.01
                                                                                                              1.51



                                                                                                            98.05
                                                                                                            55.83
                                                                                                            98.75
                                                                                                            53.15
                                                                                                            18.07
                                                                                                            10.15
                                                                                                             0.07
                                                                                                             1.05




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Pretraining an LLM: Mapping the Results
   I saw a movie where the characters planned a heist at a high-security _____

                   Bank

                     2.60

                     2.63                         Casino (2.1, 3.1, 3.5)
                                                     Museum (2.4, 2.7, 3.1)
                     2.91

                     3.03                                Bank (2.6, 2.6, 2.9)

                    79.65                                    Dollars (2.9, 2.2, 4.3)

                                                              Cat (5.6, 1.5, 4.1)
                     1.05



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Finetuning




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After Pretraining,
LLMs Are Finetuned
LLMs are next trained on smaller, specialized                    Finetuning allows LLMs like Claude to:
datasets to achieve specific objectives rather                    ● Express a particular personality
than general ones.
                                                                  ● Perform specialized tasks
 ●   Supervised learning (SL): learning from
     examples of prior examples of good and bad                   ● Be clear, direct, and concise
     output/response pairs.                                       ● Respond to their model names
 ●   Reinforcement learning (RL): learning
                                                                  ● Be useful and helpful
     through the use of rewards and penalties
     for generating good and bad responses                        ● Prioritize safety




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Constitutional AI
  • An approach to training AI systems where ethical principles and behavioral
    guidelines are built in from the start, rather than added later
      Similar to how a constitution guides a government, the AI system has core
       principles, including a principle against copyright infringement, it's
       trained to follow to be truthful, helpful, and avoid harm
  • The goal is to create AI systems that reliably follow intended behaviors and
    values, even in new situations they haven't encountered before
  • It differs from traditional approaches as it makes ethical behavior
    fundamental to how the AI thinks and operates, rather than relying on
    external restrictions


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Guardrails




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Claude Has Guardrails to Prevent Misuse

                                                                     Guardrails
                                                                      Claude
                                           Prompt

                            Output

                            Prompt

                                                         Output
                                                                      Constitutional
                                                                        Principle




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